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 9                                UNITED STATES DISTRICT COURT
10                           CENTRAL DISTRICT OF CALIFORNIA
11 SARA SAFARI, PEYMON                           Case No. 8:22-CV-01562-JWH (KES)
   KHAGHANI, on behalf of themselves
12
   and all others similarly situated, and
13 FARM FORWARD, on behalf of the
   general public,
14
15                  Plaintiffs,                  The Honorable John W. Holcomb
                                                 The Honorable Karen E. Scott
16         v.
17 WHOLE FOODS MARKET                            Complaint Filed:     August 23, 2022
                                                 Discovery Cutoff:    Not Set
18 SERVICES, INC., a Delaware                    Pretrial-Conference: Not Set
     corporation, WHOLE FOODS
19 MARKET CALIFORNIA, INC., a                    Trial Date:          Not Set
20 California corporation, MRS.
     GOOCH’S NATURAL FOOD
21 MARKETS, INC., doing business as
22 Whole Foods Market, a California
     Corporation,
23
24                  Defendants.
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27
28                                                            Case No. 8:22-CV-01562-JWH-KES
 1                                     INTRODUCTION
 2           Farm Forward seeks reconsideration of this Court’s order, see ECF No. 75
 3 (entered July 24, 2023), on the basis of the evolving law on organizational standing.

 4 In California Medical Association v. Aetna Health Care of California, 532 P.3d 250
 5 (July 17, 2023), the California Supreme Court issued a landmark decision on
 6 organizational standing as it applies to California’s Unfair Competition Law (UCL) –
 7 the same law on which Farm Forward’s claims are based. That decision addresses
 8 federal constitutional requirements for Article III standing and relies on two U.S.
 9 Supreme Court cases that this Court previously requested that the parties address. See
10 ECF No. 54 (ordering parties to address TransUnion, LLC v. Ramirez and Havens
11 Realty Corp. v. Coleman).
12           It is undisputed that, “[a]s long as a district court has jurisdiction over [a]
13 case, then it possesses the inherent procedural power to reconsider, rescind, or
14 modify an interlocutory order for cause seen by it to be sufficient.” City of Los
15 Angeles, Harbor Div. v. Santa Monica Baykeeper, 254 F.3d 882, 885 (9th Cir. 2001).
16 This Court has inherent authority to reconsider its order with the benefit of the
17 California Supreme Court analysis on organizational standing in UCL cases. Farm
18 Forward requests that the Court exercise that authority here.
19
                                         ARGUMENT
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21
        I.      California Medical Association Makes Clear that the Injury-in-Fact
                Analysis for UCL Standing and Article III Standing Are Nearly the
22              Same.
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             When organizations seek to enforce the UCL, standing requirements are nearly
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     the same in state and federal court, which makes sense. Defendants incorrectly
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     contend that California Medical Association “does not examine the issue of Article
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     III standing or the viability of the diversion of resources theory of organizational
27
     standing post TransUnion, LLC v. Ramirez.” ECF No. 93, at 4. Defendants further
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 1 claim that “California Medical Association v. Aetna is a California case that does not

 2 analyze Article III standing whatsoever.” Id. at 12. But a plain reading of California
 3 Medical Association demonstrates that the Supreme Court addressed Article III

 4 standing, and also determined that a diversion-of-resources injury is a viable
 5 organizational standing theory post-TransUnion.
 6        The Court expressly observed that the UCL and Art. III standards are
 7 harmonious: the UCL’s “‘injury in fact’ requirement is borrowed from federal
 8 constitutional law and overlaps to a considerable degree with the ‘lost money or
 9 property’ inquiry.” Cal. Med. Ass’n, 532 P.3d at 257. The Court continued:
10        The phrase “injury in fact” is borrowed from, and was intended to
11        incorporate aspects of, the federal constitutional law of standing. (See
12        Voter Information Guide, Gen. Elec., supra, text of Prop. 64, § 1, subd.
13        (e), p. 109 [declaring intent to limit standing to plaintiffs who have been
14        “injured in fact under the standing requirements of the United States
15        Constitution”].) To establish a case or controversy within the scope of
16        the federal judicial power (U.S. Const., art. III, § 2), a plaintiff in federal
17        court “must show (1) an injury in fact, (2) fairly traceable to the
18        challenged conduct of the defendant, (3) that is likely to be redressed by
19        the requested relief.” (Federal Election Commission v. Cruz (2022) U.S.
20        [142 S.Ct. 1638, 1646].)
21        Id. at 257–58; see also id. at 258 (“As a matter of federal law, an injury can be
22 concrete—i.e., ‘‘real,’ and not ‘abstract’’—even if the injury is personal instead of
23 economic; even certain intangible injuries qualify as injury in fact.” (quoting Spokeo,
24 Inc. v. Robins, 578 U.S. 330, 340 (2016); TransUnion LLC v. Ramirez, 141 S. Ct.
25 2190, 2204 (2022)). California’s UCL incorporates the Article III injury-in-fact
26 requirement, without “borrow[ing] the traceability and redressability requirements of
27 the federal standing inquiry.” Cal. Med. Ass’n at 257.
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 1           State and federal courts rely on the same principles to determine if an
 2 organization has standing to enforce a consumer protection statute. In California
 3 Medical Association, the California Supreme Court acknowledged that, “[w]hile the

 4 exact question of UCL standing presented here is one of first impression in this court,
 5 it has been addressed by other courts applying California law, and closely analogous
 6 questions of federal standing have been addressed by the federal courts.” Id. at 259.
 7 As an example, the California Supreme Court cited a case from this district, Southern
 8 California Housing Rights Center v. Los Feliz Homeowners Association, 426 F. Supp.
 9 2d 1061 (C.D. Cal. 2005), demonstrating that the Article III and UCL standing
10 requirements overlap. The Article III standing analysis of Southern California
11 Housing Rights Center was adopted by the California Supreme Court in its seminal
12 case, Kwikset Corp. v. Superior Court, 246 P.3d 877 (2011), which addressed
13 standing to sue under the UCL.
14           The California Supreme Court’s analysis in California Medical Association—
15 which addressed standing to sue under the same statute that Farm Forward asserts
16 here—applies to this case. This Court should consider the decision in analyzing Farm
17 Forward’s standing under Article III.
18
       II.      A Diversion of Resources in Response to a Threat to the
19              Organization’s Mission, Even When the Diversion is Consistent with
                an Organization’s Mission, Supports Organizational Standing.
20
21           Organizational diversion of resources includes a “diversion of resources in
22 response to a threat to its mission.” Cal. Med. Ass’n, 532 P.3d at 260. Defendants
23 incorrectly state that California Medical Association “also does not examine the issue,
24 considered in the Court’s order, of whether an alleged diversion of resources merely
25 constitutes business as usual, which does not qualify as a diversion of resources under
26 Article III.”
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 1        But the Court addressed exactly that point. There, the California Medical
 2 Association (CMA), an entity that advocates on behalf of physicians, devoted its
 3 resources to the betterment of the medical profession. Id. at 255. The fact that CMA

 4 diverted resources to challenging the Aetna policy, which it had done in furtherance
 5 of its mission, did not disqualify that diversion as “business as usual.” As the
 6 California Supreme Court held, the challenge to the Aetna policy was “diversion of
 7 resources in response to a threat to its mission”:
 8        CMA may not have incurred additional out-of-pocket costs in
 9        responding to Aetna’s allegedly illegal practices; its employees were
10        salaried and would have been paid regardless. But the economic value
11        CMA received from their labor was reduced. CMA “lost money or
12        property” (§ 17204) when its personnel were diverted from other
13        activities that would also have served its goal of assisting its physician
14        members.
15 Id. at 259–60.
16        So, too, with Farm Forward. In the operative complaint in this case, Farm
17 Forward alleges that it “expended significant resources addressing Whole Foods’
18 misinformation, which has resulted in the organization having fewer resources to
19 devote to its mission of ending factory farming.” FAC ¶ 80. Contrary to this Court’s
20 order, the question is not whether “Farm Forward’s testing program was a
21 continuation of its existing mission to end factory farming,” ECF No. 75, at 17; Farm
22 Forward would always spend its time and money in furtherance of its mission to end
23 factory farming. Instead, the question is whether the antibiotics testing program and
24 related activities were a “diversion of resources in response to a threat to its mission.”
25 It was a diversion of resources in response to a threat to its mission, as alleged in the
26 FAC:
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 1      • Whole Foods’ misrepresentations, both to Farm Forward and to the

 2         public, directly undermined Farm Forward’s activities to convince the

 3         public to make a “better choice” consistent with Farm Forward’s mission

 4         to end factory farming. FAC ¶ 87

 5      • Farm Forward expended significant staff time and organizational
 6         resources to address Whole Foods’ false advertising and to expose the
 7         confusion and misimpressions among consumers that Whole Foods had
 8         caused and continues to cause. FAC ¶ 88
 9      • To properly inform its members, supporters, and social media followers,
10         Farm Forward invested in and initiated a new campaign designed to
11         expose Whole Foods’ (and other companies’) false advertising of meat.
12         FAC ¶ 91
13
           Farm Forward’s alleged diversion of resources is analogous to the diversion of
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     resources suffered by the plaintiff in California Medical Association – a diversion of
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     resources injury in defense of the organization’s mission, not a departure from the
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     mission. The California Supreme Court determined that these allegations are
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     sufficient for organizational standing, and therefore this Court’s decision merits
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     reconsideration.
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        III.   Courts Continue to Rely on Havens and Its Progeny after TransUnion.
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22         In its order, this Court questioned the constitutional viability of organizational
23 standing, specifically inquiring whether Havens Realty Corp. v. Coleman, 455 U.S.
24 363 (1982), remains good law after TransUnion. ECF No. 75 at 14-15.
25         Since the U.S. Supreme Court decided Havens in 1982, it has been cited more
26 than 1,500 times. And since the U.S. Supreme Court decided TransUnion in 2021,
27 Havens has been cited dozens of times by courts across the country. Indeed, Havens
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 1 is still consistently cited by the federal courts in the Ninth Circuit. See, e.g., E. Bay

 2 Sanctuary Covenant v. Biden, 2023 WL 4729278, -- F. Supp. 3d -- (N.D. Cal. July
 3 25, 2023) (citing Havens and finding organizational standing). In Fellowship of

 4 Christian Athletes v. San Jose Unified School District, 46 F.4th 1075 (9th Cir. 2022),
 5 Havens was cited in both the majority and dissent, without suggesting that it was no
 6 longer the law. And in Sabra v. Maricopa County Community College District, 44
 7 F.4th 867 (9th Cir. 2022), the Ninth Circuit cited Havens in both the majority and the
 8 concurrence, ultimately concluding that the plaintiff had standing.
 9        Finally, as recently as April 2023, the Fifth Circuit ruled that physician
10 associations had Havens standing to sue the FDA regarding the abortion pill,
11 mifepristone. All. for Hippocratic Med. v. Food & Drug Admin., 2023 WL 2913725
12 (5th Cir. Apr. 12, 2023) (unpublished); see also ECF No. 60-2 (attached as
13 supplemental authority). Consistent with the California Supreme Court’s diversion-
14 of-resources analysis, the Fifth Circuit stated, “Plaintiff associations have also
15 suffered independent injuries because FDA’s actions have frustrated their
16 organizational efforts to educate their members and the public on the effects of
17 mifepristone.” The Fifth Circuit affirmed the district court’s order, which had relied
18 on both Havens and TransUnion. All. for Hippocratic Med. v. U.S. Food & Drug
19 Admin., No. 2:22-CV-223-Z, 2023 WL 2825871 (N.D. Texas, Apr. 7, 2023); see also
20 ECF No. 60-1 (attached as supplemental authority).
21        Alliance for Hippocratic Medicine is particularly useful in clarifying whether
22 “TransUnion calls into question the circumstances under which courts may properly
23 grant organizational standing.” ECF. No. 75 at 18. In Alliance for Hippocratic
24 Medicine, the district court, after discussing how courts assess whether an
25 organizational plaintiff’s injury has a close relationship to a harm traditionally
26 recognized as the basis for a lawsuit at common law (consistent with the test in
27 TransUnion) concluded that the harm resulting from unsafe drugs is similar to harm
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 1 actionable under the common law and that the evidence of injury required to satisfy

 2 the TransUnion standard is minimal. Id. at *7 n.14 (citing Campaign Legal Ctr. v.
 3 Scott, 49 F.4th 931, 940 (5th Cir. 2022) (Ho., J. concurring)). That analysis, affirmed

 4 by the Fifth Circuit, answered this Court’s question by noting that defendants’ reliance
 5 on Spokeo v. Robins, 578 U.S. 330 (2016), was “unavailing,” and deciding that
 6 “Plaintiffs only need to show the type of harm allegedly suffered is similar in kind to
 7 a type of harm that the common law has recognized as actionable.” All. for
 8 Hippocratic Med., No. 2:22-CV-223-Z, 2023 WL 2825871, at *7 n.14 (N.D. Tex.
 9 Apr. 7, 2023) (italics in original, internal quotes omitted). Farm Forward has satisfied
10 that standard here.
11
                                       CONCLUSION
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           Defendants oppose reconsideration but correctly state that “The Court did not
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     analyze Farm Forward’s standing under the UCL.” ECF No. 93 at 8. Farm Forward
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     agrees with Defendants that this Court did not analyze Farm Forward’s standing under
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     the UCL, the statute from which Farm Forward’s cause of action against Defendants
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     arises. Therefore, Farm Forward respectfully requests that the Court do so in light of
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     California Medical Association v. Aetna Health Care of California.
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20 Dated: September 15, 2023                 ELSNER LAW & POLICY, LLC
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